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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        NORTHERN DIVISION AT COVINGTON

 TIMOTHY GREGG,                                 :      CASE NO: 2:24-cv-00134-DCR
                                                :
               Plaintiff,                       :      JUDGE: Danny C. Reeves
                                                :
        vs.                                     :      AMENDED NOTICE OF DEPOSITION
                                                :      OF JOHN PROUD
 ST. ELIZABETH MEDICAL CENTER,                  :
 INC.,                                          :
                                                :
               Defendant.                       :

       Please take notice and be advised that on May 30, 2025 at 10:00am at the offices of

Dressman Benzinger LaVelle PSC, 109 E. Fourth St. Covington, KY 41011, Plaintiff, by counsel,

will take the deposition of John Proud. The deposition shall be taken pursuant to Rule 30 of the

Federal Rules of Civil Procedures before a notary public, shall be upon oral examination for all

purposes permitted under the Federal Rules of Civil Procedures, and shall be recorded by

stenographic and/or video means.

       Respectfully Submitted,

 Christopher Wiest (KBA 90725)                      /s/ Robb S. Stokar
 Chris Wiest, Attorney At Law, PLLC                 Robb S. Stokar (Admitted PHV)
 50 E. Rivercenter Blvd. #1280                      Stokar Law, LLC
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                                                    rss@stokarlaw.com
                                                    Counsel for Plaintiff

                                 CERTIFICATE OF SERVICE

     I hereby certify that on May 15, 2025 the foregoing has been filed with the Court’s
CM/ECF system which shall electronically serve all counsel of record: .

                                            __/s/ Robb S. Stokar____ ______
                                            Robb S. Stokar (Admitted PHV)
